          Case 1:18-cv-10044-ADB Document 5 Filed 02/14/18 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSSETS



 TODD HAKIMI,

                                       Plaintiff,

                               -v-

 THE BAUPOST GROUP, L.L.C., BAUPOST
 PARTNERS, L.L.C., SAK CORPORATION,
 BAUPOST GROUP LIMITED,                                            C.A. No. 1:18-cv-10044-ADB
 BAUPOST GROUP INTERNATIONAL L.L.P.,
 BAUPOST LIMITED PARTNERSHIP 1983 A -1,
 BAUPOST LIMITED PARTNERSHIP 1983 B-1,
 BAUPOST LIMITED PARTNERSHIP 1983 C-1,
 BAUPOST VALUE PARTNERS L.P. – I,                                       STIPULATION OF
 BAUPOST VALUE PARTNERS L.P. – II,                                         DISMISSAL
 BAUPOST VALUE PARTNERS L.P. – III,
 BAUPOST VALUE PARTNERS L.P. – IV,
 BSP PARTNERS L.P., HB INSTITUTIONAL
 LIMITED PARTNERSHIP, PB INSTITUTIONAL
 LIMITED PARTNERSHIP, YB INSTITUTIONAL
 LIMITED PARTNERSHIP and SETH A. KLARMAN,

                                       Defendants,
 and

 INNOVIVA, INC.,

                                       Nominal Defendant.




       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff Todd

Hakimi, defendants The Baupost Group, L.L.C., Baupost Partners, L.L.C., SAK Corporation,

Baupost Group Limited, Baupost Group International L.L.P., Baupost Limited Partnership 1983

A -1, Baupost Limited Partnership 1983 B-1, Baupost Limited Partnership 1983 C-1, Baupost

Value Partners L.P. – I, Baupost Value Partners L.P. – II, Baupost Value Partners L.P. – III,
          Case 1:18-cv-10044-ADB Document 5 Filed 02/14/18 Page 2 of 2




Baupost Value Partners L.P. – IV, BSP Partners L.P., HB Institutional Limited Partnership, PB

Institutional Limited Partnership, YB Institutional Limited Partnership, Seth A. Klarman,

(collectively, the “Baupost Defendants”) and nominal defendant Innoviva, Inc. by and through

their attorneys, respectfully and jointly submit this Stipulation of Dismissal without prejudice.


 Attorneys for Todd Hakimi                       Attorneys for Baupost Defendants



 ___/s/ Robert R. Pierce___                      ___/s/ Kristi L. Jobson____
 Robert R. Pierce (BBO #549172)                  Kristi L. Jobson (BBO #685333)
 PIERCE & MANDELL, P.C                           ROPES & GRAY LLP
 11 Beacon Street, Suite 800                     Prudential Tower, 800 Boylston Street
 Boston, Massachusetts 02108                     Boston, MA 02199-3600
 (617) 720-2444                                  (617) 951-7456
  E-Mail: bob@piercemandell.com                  E-Mail: Kristi.Jobson@ropesgray.com



                                                 Attorneys for Innoviva, Inc.



                                                 ___/s/ Kurt S. Kusiak_____
                                                 Kurt S. Kusiak (BBO #559254)
                                                 FITCH LAW PARTNERS LLP
                                                 One Beacon Street
                                                 Boston, MA 02108
                                                 (617) 542-5542
                                                 E-Mail: ksk@fitchlp.com


 Dated: February 14, 2018




                                                 2
